               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       STATESVILLE DIVISION
                          5:05CV285-02-V
                          (5:99CR70-3-V)


ALPHONSO RAVON MORRISON,      )
     Petitioner,              )
                              )
       v.                     )                     ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on petitioner’s “Motion

To Vacate, Set Aside, Correct Sentence” under 28 U.S.C. §2255,

filed December 16, 2005.     For the reasons stated herein, the

petitioner’s Motion shall be dismissed as untimely filed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     A review of pertinent Court records reflects that on

November 1, 1999, a Bill of Indictment was filed, charging the

petitioner (along with three others) with conspiracy to possess

with intent to distribute, and to distribute, quantities of

powder cocaine and cocaine base, all in violation of 21 U.S.C.

§§841(a)(1) and 846.    On December 16, 1999, the government filed

a “Notice Of Intention To Seek Enhanced Penalties - 21 U.S.C.

§§841, 851.”   Such Notice asserted that in the event the

petitioner was convicted of the instant conspiracy charge, the




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government would seek an enhanced sentence for that offense by

virtue of the petitioner’s two prior State court convictions for

the sale and delivery of cocaine.

     On January 8, 2001, the government filed a Superceding Bill

of Indictment.   Such Superceding Indictment did not alter the

original Indictment, but merely asserted that the petitioner’s

charge involved 50 grams or more of cocaine base and five

kilograms or more of cocaine powder.

     Next, the petitioner’s jury trial began on January 17, 2001;

and on the following day, the jury convicted him of the single

conspiracy charge.   Accordingly, on May 7, 2001, the Court held a

Sentencing Hearing for this matter.          During the course of that

Hearing, the Court determined that the petitioner was subject to

an enhanced term of life imprisonment by virtue of his current

and prior convictions.       Thus, at the conclusion of such Hearing,

the Court sentenced the petitioner to a term of life imprison-

ment.

     The petitioner timely appealed his case to the Fourth Cir-

cuit Court of Appeals.       However, by an unpublished opinion, the

petitioner’s appeal was rejected by the appellate Court, and his

conviction and sentence were affirmed.          See United States v.

Morrison, No. 01-4398 (4th Cir. July 16, 2002).           The Court of

Appeals’ mandate was filed on August 7, 2002, and the petitioner

did not seek any further direct review of his case.



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     Rather, after allowing more than three years to pass, the

petitioner now has returned to this Court on the instant Motion

to Vacate.   By this Motion, the petitioner argues that his

sentence was imposed in violation of the “U.S. Constitution and

the law[]” because his sentence was enhanced on the basis of

convictions which he did not sustain; that his conviction is

erroneous because it is based upon conduct which was set forth in

charges which previously had been dismissed in the State court;

and that his conviction was imposed “in violation of the

Constitution and Laws of The United States” in that “‘he was

never placed on notice of any charge carrying 50 grams or more or

5 kilograms.’”    The petitioner also asserts that he was subjec-

ted to ineffective assistance of counsel by virtue of counsel’s

failure to challenge the foregoing matters.

     Furthermore, in acknowledgment of the fact that this Motion

was filed far beyond the 1-year limitations deadline, the peti-

tioner also asserts that this Motion should not be dismissed as

untimely filed because §851--the provision which he is attacking,

grants petitioners the authority to bring challenges such as this

at any time “[not]withstanding any procedural barriers or gate-

keeping provisions.”

     While the undersigned appreciates the petitioner’s efforts

to convince the Court that his Motion is not time-barred,

relevant legal precedent makes it clear that this Motion, in



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fact, has been filed well outside of the 1-year statute of

limitations imposed under the Antiterrorism and Effective Death

Penalty Act of 1996.      Furthermore, the petitioner has failed to

demonstrate that such untimeliness can be excused.             Consequently,

the petitioner’s Motion to Vacate must be dismissed as untimely

filed.1

                               II.   ANALYSIS

      In 1996 Congress enacted the Antiterrorism and Effective

Death Penalty Act of 1996 (the “AEDPA,” hereafter).             Among other

things, the AEDPA amended 28 U.S.C. §2255 by imposing a 1-year

statute of limitations period for the filing of a motion to

vacate or correct.     Such amendment provides:

      A 1-year period of limitation shall apply to a motion under

this section.     The limitation period shall run from the latest

of–

      (1) the date on which the judgment of conviction
      becomes final;

      (2) the date on which the impediment to making a motion
      created by governmental action in violation of the


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       In Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002), the Fourth
Circuit stated that “when a federal habeas court, prior to trial, perceives a
pro-se [petition or Motion to Vacate] to be untimely and the state has not
filed a motion to dismiss based upon the one-year limitations period, the
[district] court must warn the petitioner that the case is subject to
dismissal . . . absent a sufficient explanation.” Therefore, after Hill this
Court routinely entered Orders allowing petitioners the opportunity to address
any timeliness concerns when their pleadings failed to conclusively demon-
strate timeliness and to set forth a sufficient explanation regarding those
matters.   Here, however, because the petitioner has clearly acknowledged his
understanding that his Motion was not filed within the one-year deadline, and
has attempted to articulate a reason why this Motion should be construed as
timely filed, the Court finds that no further notice under Hill is required.

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     Constitution or laws of the United States is removed,
     if the movant was prevented from making a motion by
     such governmental action;

     (3) the date on which the right asserted was initially
     recognized by the Supreme Court and made retroactively
     applicable to cases on collateral review; or

     (4) the date on which the facts supporting the claim or
     claims presented could have been discovered through the
     exercise of due diligence.

     In the instant case, the record makes clear, and the

petitioner does not deny, that the Fourth Circuit Court of

Appeals entered the mandate for its Order rejecting the peti-

tioner’s appeal on August 7, 2002.      Therefore, the petitioner’s

conviction and sentence became final on or about November 5,

2002-–that is, at the expiration of the 90-day period during

which the petitioner could have filed a Petition for a Writ of

Certiorari in the U.S. Supreme Court.       See Harris v. Hutchinson,

209 F.3d 325, 328 (4th Cir. 2000) (noting that in the absence of

a petitioner for a writ of certiorari being filed, the one-year

limitation period begins ninety days after the appellate court’s

decision is rendered).

     Nevertheless, in an effort to demonstrate that the instant

Motion was timely filed, the petitioner asserts that 21 U.S.C.

§851 somehow gives petitioners the right to challenge their

enhanced sentences at any time, notwithstanding the one-year time

limitation which is imposed under the AEDPA.         However, the

petitioner has failed to identify a single case which supports



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that proposition.   Moreover, the Court has conducted its own

research and determined that there is no such case or other legal

provision which supports the petitioner’s proposition that §851

authorizes him to raise a challenge to his enhanced sentence at

any time.

     Rather, in cases like the instant one where the challenges

do not go “to the very power of the [government] to bring the

defendant into court to answer the charge brought against him,”

such challenges cannot be raised at anytime.         See Blackledge v.

Perry, 417 U.S. 21 (1974).     Indeed, the instant §851 challenge

simply questions whether the Court had the authority to impose

the enhanced sentence, not whether it had the authority to try

the petitioner in the first place.      Thus, challenges of this

nature must be raised in accordance with the provisions which

govern such claims.

     In the instant case, the AEDPA prescribes a one-year

limitations period for Motions of this nature.          However, as the

petitioner has candidly admitted, the instant Motion was not

filed within one year of the date on which the petitioner’s

conviction and sentence became final.       Moreover, the petitioner

has failed to demonstrate that his one-year deadline should be

equitably tolled.

     To be sure, courts within this Circuit have pointed out that

equitable tolling is generally appropriate in “two distinct



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situations,” neither of which is present here.          Jackson v. United

States, 319 F.Supp.2d 672, 674 (E.D. Va. 2004).          That is, Jackson

points out that equitable tolling is available “where the peti-

tioner was prevented from asserting his claim by some wrongful

conduct on the part of the government or where some extraordinary

circumstances beyond the petitioner’s control made it impossible

to file the claims in a timely manner.”       Id. at 675, quoting

Harris v. Hutchinson, 209 F.3d 325, 328-29 (4th Cir. 2000).

     In the case at bar, the petitioner has not directed the

Court’s attention to any government misconduct which could have

caused his delay, but exclusively to his own mistaken assertion

that he is entitled to bring his challenge to his §851 enhanced

sentence at anytime he chooses to do so.        Nevertheless, as has

already been explained, this Court has found no support for that

proposition.

     Moreover, inasmuch as the petitioner’s proffered explana-

tion does not qualify as a “extraordinary circumstance,” that is,

as an occasion when “external circumstances beyond [his] control

prevented him from complying with the statutory time limit,” the

petitioner has failed to demonstrate that the one-year deadline

should be equitably tolled in this case.        Spencer v. Sutton, 239

F.3d 626, 630 (4th Cir. 2001) (internal quotations omitted).

Therefore, the instant Motion must be dismissed as untimely

filed.



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                             III.   CONCLUSION

     The AEDPA requires, among other things, that Motions to

Vacate under 28 U.S.C. §2255 be brought within one year of the

event which triggers the commencement of the limitations period.

In the case at bar, the petitioner has filed his Motion to Vacate

far outside of all conceivable limitations periods; therefore,

his Motion must be summarily dismissed as time-barred.

                                IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DISMISSED.

     SO ORDERED.



                                      Signed: February 10, 2006




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